Case 2:17-cv-00137-PSG-KS Document 52 Filed 09/06/19 Page 1 of 1 Page ID #:1088



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 3                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNI ~OC1~111~11t ~`                         ~s~
4                               WESTERN DIVISION                                                ;
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6     JEREMY SALAZAR,                            Case No.: 2:17-cv-00137-PSG-KS

 7                  Plaintiff,                    P          RDER
                                                   RANTING TIPULATION TO
 8           vs.                                 DISBURSE UNCLAIMED
                                                 SETTLEMENT FUNDS TO CY
 9                                               PRES RECIPIENT
10    MIDWEST SERVICING GROUP,
      INC.,
11
                    Defendant(s).
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14           Upon review ofthe Parties' Stipulation and good cause showing, it is hereby

15    ordered that:

16           1.       Any remaining unclaimed Settlement Funds shall be deemed subject

17    to Cy Pres distribution;

18           2.     The Legal Aid Foundation ofLos Angeles be appointed as the sole Cy

19    Pres recipient of the unclaimed Settlement Funds;

>.0          3.     That Class Counsel shall, within ten(10)days, deliver said unclaimed

',1   Settlement Funds to the Legal Aid Foundation of Los Angeles; and
,2           4.     Upon confirmation of deposit by the I,~gal Aid Foundation of Los

'3    Angeles ofthe unclaimed Settlement Funds, Class Counsel shall file a Final Status

'.4   Report confirming same, thus closing this matter in its entirety.

'.5          IT IS O ORDERED.

'.6   Dated: `~G(s r y~                      By:

27                                           Hon.      rted S ates District Court Judge

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                              ORDER RE STIPULATION TO DISBURSE UNCLAIMED SETTLEMENT
